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           14
                                            UNITED STATES BANKRUPTCY COURT
           15
                           EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION
           16

           17
                 In re:                                             Case No. 14-20371-C-11
           18
                 THE ROMAN CATHOLIC BISHOP OF
           19    STOCKTON, a California corporation sole,

           20                 Reorganized Debtor.
                                                                    NOTICE OF REMOVAL
           21    JOHN JK DOE #1, an individual; JOHN TK
                 DOE #2, an individual; and JOHN ML DOE #3,
           22    an individual;
           23                 Plaintiffs,
                 vs.
           24
                 DIOCESE OF STOCKTON; ST. ANNE'S
           25    PARISH; FATHER OLIVER FRANCIS
                 O’GRADY; BISHOP ROGER MAHONY; and
           26    ROES 1 to 500, inclusive,
           27                   Defendants.
           28

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            1           PLEASE TAKE NOTICE that the Roman Catholic Bishop of Stockton (“RCB”) hereby

            2    removes California Superior Court, San Joaquin County Case No. STK-CV-UPI-2020-11094

            3    entitled John JK Doe #1, John TK Doe #2, John ML Doe #3 v. Diocese of Stockton, et al., (“State

            4    Court Action”) to the United States Bankruptcy Court, Eastern District of California, Sacramento

            5    Division.

            6           1.      On January 15, 2014, the RCB filed a voluntary petition for relief under chapter 11

            7    of the Bankruptcy Code, commencing the above-captioned case.

            8           2.      The RCB commenced its Chapter 11 reorganization case to restructure its financial

            9    affairs to, among other things, fairly, justly and equitably compensate all of its creditors, including

           10    victims of childhood sexual abuse (known and unknown) by clergy or others associated with the

           11    RCB, trade creditors, and others.

           12           3.      On October 26, 2017, the RCB filed its Debtor’s Plan of Reorganization Dated

           13    October 26, 2016 (the “Plan”). Dkt. No. 757. The Court entered Findings of Fact and Conclusions

           14    of Law Regarding Debtor’s Plan of Reorganization Dated October 26, 2016, on January 10, 2017

           15    (the “Plan Findings”). Dkt. No. 839. On January 13, 2017, the Court entered its Corrected Order

           16    Confirming Debtor’s Plan of Reorganization Dated October 26, 2016 (the “Confirmation Order”).

           17    Dkt. No. 843. The Effective Date under the Plan occurred on February 14, 2017. Dkt. No. 846.

           18           4.      On June 12, 2017, the Court entered its order authorizing entry of final decree and

           19    closing the RCB’s Chapter 11 case. Dkt. No. 949.

           20           5.      On February 15, 2022, John JK Doe #1, et al., (collectively “Plaintiffs”) filed the

           21    first amended complaint naming specific defendants for the first time. A copy of the first amended

           22    complaint filed in the State Court Action on February 15, 2022, is attached hereto as Exhibit A.

           23    The first amended complaint was served on the RCB on March 1, 2022.

           24           6.      The Plaintiffs’ claims in the State Court Action involve claims that arose pre-

           25    petition. Plaintiffs’ claims against the RCB and other defendants (except defendant Oliver

           26    O’Grady) were discharged and enjoined by the Plan. The RCB is informed and believes that

           27    Plaintiffs contend that their claims were not discharged and enjoined by the Plan because at the

           28    time the bankruptcy case was commenced such claims were subject to a statute of limitations

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            1    affirmative defense and now the California legislature has revised the statute of limitations. To

            2    the contrary, both the confirmation order and the Plan specifically state that such claims are

            3    discharged and subject to the injunctive provisions of the Plan: “For purposes of clarity, the Debtor

            4    and the Reorganized Debtor shall be discharged from and their liability shall be extinguished

            5    completely as to any Tort Claim, including any Tort Claim that was barred by the applicable statute

            6    of limitations as of the Bar Date but may be no longer barred by the applicable statute of limitations

            7    in the future for any reason, including, for example, the passing of legislation that revives such

            8    previously time-barred Tort Claim.” See Confirmation Order at ¶¶ 6 and 20(c) (same); see also

            9    Plan §§ 30.1(c) and 30.5(c) (same). As such, Plaintiffs have violated the discharge and other

           10    injunctions in the Plan and Confirmation Order, for which the RCB will be seeking appropriate

           11    relief from the Bankruptcy Court.

           12           7.      Jurisdiction is proper pursuant to 28 U.S.C. Section 1334 because the claims

           13    asserted in the State Court Action arise in and under a case under Title 11. See In re Ray, 624 F.3d

           14    1124, 1131 (9th Cir. 2010) (“A matter ‘arises under’ the Bankruptcy Code if its existence depends

           15    on a substantive provision of bankruptcy law, that is, if it involves a cause of action created or

           16    determined by a statutory provision of the Bankruptcy Code … A proceeding ‘arises in’ a case

           17    under the Bankruptcy Code if it is an administrative matter unique to the bankruptcy process that

           18    has no independent existence outside of bankruptcy and could not be brought in another forum,

           19    but whose cause of action is not expressly rooted in the Bankruptcy Code.”). Further, the

           20    Bankruptcy Court retained jurisdiction in the Plan to enforce any provisions of the Plan including

           21    the discharge and injunctive provisions of the Plan. See Plan § 32.3. Removal of the State Court

           22    Action is appropriate pursuant to the provisions of 28 U.S.C. Section 1452. Venue is appropriate

           23    as the Eastern District of California is the district for San Joaquin County, where the State Court

           24    Action was pending.

           25           8.      The RCB consents to entry of final orders or judgment by the Bankruptcy Court.

           26           9.      The RCB submits that the main bankruptcy case need not be reopened for the

           27    Bankruptcy Court to determine the issues related to the removed action. See Menk v. LaPaglia,

           28    241 B.R. 896, 905 (9th Cir. BAP 1999) “[V]arious aspects of the bankruptcy court’s § 1334(b)

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            1    jurisdiction continue after a case is either closed or dismissed.”); see also, Sundquist v. Bank of

            2    Am., N.A., 576 B.R. 858, 873 (Bankr. E.D. Cal. 2017) (“Much bankruptcy-related activity may

            3    occur without reopening a case: automatic stay enforcement; dischargeability actions; awards of

            4    compensation; imposition of sanctions; determinations of equitable subordination; contempt;

            5    dealing with unclaimed funds; motions for post-judgment relief; execution of judgments.”). Thus,

            6    the RCB respectfully requests the Bankruptcy Court not reopen the main bankruptcy case based

            7    on this notice of removal.

            8    Dated: March 29, 2022

            9                                                   FELDERSTEIN FITZGERALD WILLOUGHBY
                                                                PASCUZZI & RIOS LLP
           10
                                                          By:      /s/ Paul J. Pascuzzi
           11                                                   PAUL J. PASCUZZI
                                                                Attorneys for The Roman Catholic Bishop
           12                                                   of Stockton, a corporation sole
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